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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


 DR. DOROTHY NAIRNE, et al.,
                                                  Civil Action No. 3:22-cv-00178-SDD-SDJ
         Plaintiffs,

 v.                                               Chief Judge Shelly D. Dick

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,              Magistrate Judge Scott D. Johnson

         Defendant.



                         MOTION TO WITHDRAW AS COUNSEL

       NOW INTO COURT, through undersigned counsel, comes Defendant Nancy Landry, in

her official capacity as Secretary of State of Louisiana (“Defendant”), who respectfully submits

this motion to withdraw John E. Branch, III as counsel of record in this matter.

       John E. Branch, III, is currently an attorney with Nelson Mullins Riley & Scarborough LLP

(“Nelson Mullins”), counsel for Defendant in this matter. Mr. Branch is withdrawing as counsel

because he is leaving the employment of Nelson Mullins. Nelson Mullins, along with Shows, Cali

& Walsh, L.L.P., will continue to represent Defendant in this matter.

       WHEREFORE, Defendant prays that this motion be granted and that John E. Branch, III,

be withdrawn as counsel of record for Defendant in the above-captioned matter.

       Respectfully submitted, this the 29th day of February, 2024.

                                              /s/ John E. Branch, III
                                              John E. Branch, III*
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                             * Admitted pro hac vice

                             Counsel for Defendant NANCY LANDRY, in her
                             official capacity as Secretary of State of Louisiana




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this 29th day of February, 2024, the foregoing has been filed with

the Clerk via the CM/ECF system that has sent a notice of electronic filing to all counsel of record.


                                                       /s/ John E. Branch, III
                                                       John E. Branch, III




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